                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO

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                                            )
 JAY CONNOR, individually and on            )              Case No. 1:24-cv-02286
 behalf of all others similarly situated,   )
                                            )
                        Plaintiff,          )
                                            )
         v.                                 )
                                            )
 SERVICEQUIK INC. d/b/a/ ZING               )         Defendant Servicequik’s Reply to
 BUSINESS MANAGEMENT                        )       Plaintiff’s Memorandum in Opposition
 SOFTWARE                                   )                 to Motion to Dismiss
                                            )
 And                                        )
                                            )
 Woosender, Inc.                            )
                                            )
                        Defendants.         )

Defendant Servicequik (hereinafter, “Defendant”) hereby replies to Plaintiff’s

Memorandum opposing Defendant’s motion to dismiss (Dkt. No. 47).


   1. Privacy, Not Formalism, Is the TCPA’s Core Concern.

       Focusing on the single-message issue, the Telephone Consumer Protection Act

       (“TCPA”) is fundamentally a privacy statute. See Los Angeles Lakers, Inc. v. Fed.

       Ins. Co., 869 F.3d 795, 803 (9th Cir. 2017). Plaintiff’s attempt to recharacterize a

       single, uninterrupted 227-character message as constituting “more than one call

       within any 12-month period” under the TCPA lacks support in the statute or in the

       authorities cited. The law is concerned with intrusive, repeated contacts—not

       with technicalities regarding message segmentation.


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2. Plaintiff’s Recharacterization Exhibits the Lack of Repeated Privacy

   Invasion.

   Plaintiff pursued this case in state court for over a year treating the message in

   question as a single text message. See Dkt. No. 38-1, ¶ 19. Only later did

   Plaintiff allege a “second” message based on purported delivery segmentation.

   See Dkt. No. 38-5, p. 2. This strategic pivot does not change the underlying

   facts: a single communication was sent.

3. Plain Language of the TCPA Supports Dismissal.

   The plain text of the TCPA prohibits repeated calls or messages within a twelve-

   month period—not a single message that may be split for technical transmission

   reasons. Plaintiff’s interpretation strains both logic and statutory purpose.

4. Plaintiff’s Reliance on Albrecht Is Misplaced.

   Plaintiff cites Albrecht v. Oasis Power, LLC, No. 18 C 1061, 2018 WL 11269232

   (N.D. Ill. Oct. 11, 2018), but Albrecht addressed Article III standing for ringless

   voicemails, not whether a single message constitutes multiple communications.

   Id, at *1. Moreover, neither party in Albrecht disputed that the plaintiff received

   four separate communications—an entirely different factual context. Id.

5. Section 227(b)(1)(D) Is Inapplicable.

   Plaintiff cites 47 U.S.C. § 227(b)(1)(D), which addresses simultaneous

   engagement of multiple telephone lines in a business setting. The Plaintiff says it

   stands for “the TCPA also prohibits simultaneous calling conduct that would


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        cause “two or more telephone lines of a multi-line business [to be] engaged

        simultaneously”” (Dkt. No. 47, p. 151). This provision is unrelated to the question

        of whether a single message constitutes multiple “calls” under the statute. The

        full text is below:

                 (b) Restrictions on Use of Automated Telephone Equipment

                        (1) Prohibitions

                                 It shall be unlawful for any person within the United States,
                                 or any person outside the United States if the recipient is
                                 within the United States—
                                         […]
                                         (D) to use an automatic telephone dialing system in
                                         such a way that two or more telephone lines of a
                                         multi-line business are engaged simultaneously.

    6. FCC Regulation on “Subscriber” Definition Offers No Support.

        Plaintiff next invokes 47 C.F.R. § 64.1100, which simply defines a “subscriber” as

        including someone who is on the telephone account and responsible for payment

        of the bill. This does not support the notion an account record having two lines

        for a segmented message equates to “more than one call within any 12-month

        period.”

    7. Hinman Decision Is Factually Distinct and Irrelevant.

        Finally, Plaintiff cites Hinman v. M & M Rental Ctr., Inc., 596 F. Supp. 2d 1152

        (N.D. Ill. 2009), claiming it supports the use of billing records to determine the

        number of violations. Hinman was a class action dealing with thousands of faxes



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 Using the Clerk’s page numbering at the top, not the Defendant’s numbering at the bottom which is
different.

                                                    3
       sent to thousands of parties. The third-party software had incomplete records,

       and the issues were whether the faxes were advertisements, whether recipients

       consented, and whether lack of receipt proof should bar liability. Id. None of

       those issues are relevant here, and Hinman did not involve message

       segmentation and neither party argued that each fax should be considered two or

       more based on how the records appeared.

Conclusion

Plaintiff’s opposition on the single-message issue relies on strained interpretations of

the statute and inapposite legal authorities. The TCPA does not contemplate liability

based on how a single message is segmented during delivery. Accordingly, Defendant

respectfully requests that the Court grant the motion to dismiss.




                                          Respectfully submitted,

                                          /s/ Daniel Summa
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